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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEBRASKA

 IN RE:                                              Case No. BK 24-40267-BSK
                                                            (Chapter 7)
 ALDEN H. ZUHLKE and
 LISA A. ZUHLKE,

                     Debtors.
 ________________________________________

 PHILIP M. KELLY, CHAPTER 7                                A24-4011-BSK
 TRUSTEEE,

                     Plaintiff,                             NOTICE OF
                                                           DEPOSITIONS
          v.

 ALDEN H. ZUHLKE, LISA A. ZUHLKE,
 DEREK A. ZUHLKE and KIMBERLY A.
 ZUHLKE, DILLAN A. ZUHLKE and
 MICHELLE L. ZUHLKE,

                     Defendants.

      Notice is hereby given that on January 6, 2025, the Plaintiff, Philip M. Kelly,

Chapter 7 Trustee, will take the depositions of Andy Pfeifer, Colin Freeman and

Jonathan Bohling, pursuant to Fed. R. Civ. P. 30. Said depositions shall take place at

the law offices of Peetz Koerwitz & Lafleur, PC LLO, 5825 S. 14th Street, Suite 200,

Lincoln, NE 68512 commencing at the hour of 9:00 a.m. CST. The depositions will be

transcribed by a certified court reporter and will be used for discovery and evidence in

the above-referenced matter and may continue from day-to-day until completed.
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                                    PHILIP M. KELLY, CHAPTER 7 TRUSTEE

                                    By:   /s/ Richard P. Garden, Jr.
                                          Richard P. Garden, Jr. - #17685
                                          John F. Zimmer, V - #26127
                                          CLINE WILLIAMS
                                          WRIGHT JOHNSON & OLDFATHER, L.L.P.
                                          233 South 13th Street
                                          1900 U.S. Bank Building
                                          Lincoln, NE 68508-2095
                                          (402) 474-6900
                                          rgarden@clinewilliams.com
                                          jzimmer@clinewilliams.com


                                CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2024, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which sent notification
of said filing to all CM/ECF participants and upon Brian Koerwitz via electronic mail
addressed to bkoerwitz@eptlawfirm.com.

                                            /s/ Richard P. Garden, Jr.
                                            Richard P. Garden, Jr.

4888-5759-2574, v. 1
